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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                             15 Civ. 7433 (LAP)
-against-
                                                    ORDER
GHISLAINE MAXWELL,

                   Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

    The Court is in receipt of letters from counsel to

Plaintiff dated November 10, 2020 (see dkt. no. 1143 (“Nov. 10

Letter”)) and November 16, 2020 (see dkt. no. 1153 (“Nov. 16

Letter”)), and from counsel to Defendant dated November 18, 2020

(see dkt. no. 1154 (“Def. Letter”)), addressing (1) their

respective interpretations of certain aspects of the unsealing

protocol (Order and Protocol for Unsealing Decided Motions,

dated Aug. 27, 2020 (“Protocol”) [dkt. no. 1108]) that concern

(a) the effect of a Non-Party’s failure to object to unsealing

and (b) the timeline for responding to Non-Party objections; and

(2) the unsealing of the transcript of Doe 1’s deposition and

materials quoting or disclosing information from that

transcript.




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  1. The Protocol

       a. Effect of a Non-Party’s Failure to Object

    As an initial matter, the parties dispute whether the Court

should unseal in the next set of motions the names of Non-

Parties other than Does 1 and 2.       Plaintiff contends “[t]he

names of all Non-Parties whose deadlines to object have passed,

and who failed to file an objection, should . . . be unsealed if

and when the Court overrules Maxwell’s forthcoming objections”

for the next set of motions.     (See Nov. 10 Letter at 2.)

Defendant contends otherwise, reasoning that failure to file an

Objection does not result in the automatic unsealing of a Non-

Party’s name because the Court is obligated “to undertake its

own particularized review regardless of a Non-Party’s

participation.”     (See Def. Letter at 2.)

    The Court of Appeals’ Mandate and the terms of the Protocol

support Defendant’s interpretation.       The Court of Appeals

instructed the Court to undertake a “particularized review” of

the sealed materials (Mandate, dated Aug. 9, 2019 [dkt. no.

978]), which the Protocol was created to help facilitate.

Accordingly, Protocol Section 3(f) states that “[t]he Court will

conduct a particularized review of the Sealed Materials and

weigh the competing interests regardless whether it receives any

Non-Party Objection.”     (Protocol at 5.)    Moreover, it states

squarely that “Non-Parties are under no obligation to object,

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and a Non-Party’s decision not to do so shall not be deemed

consent to the unsealing of any Sealed Materials.”          (Id. at 4-

5.)   Although Plaintiff contends that “the entire point of

sending the Non-Party Notice to all remaining Non-Parties was to

expedite the review process by minimizing the number of

redactions applied at each round and allowing the Court to have

more clarity on which Non-Parties were actually objecting to the

information being unsealed,” (Nov. 10 Letter at 2), that has not

been the Court’s sole consideration in requiring these notices.

The Court’s position, as provided in the Protocol, is that the

“solicitation and receipt of objections from Non-Parties who

wish to participate is intended merely to aid the Court in

balancing privacy and other interests against the public’s right

of access.”   (Protocol at 5.)     Accordingly, the Court of

Appeals’ Mandate and plain terms of the Protocol make clear that

the Court will not unseal the names of Non-Parties solely on the

basis that their deadlines to object have passed.

        b. Time to Oppose Objections from Non-Parties

      As to the timeline for responding to Non-Party Objections

from other Does, Plaintiff notes that several other Non-Party

Does have already submitted Objections to unsealing.             Because

the Court is still deciding the motions for Does 1 and 2 at this

time, Plaintiff is correct that the clock has not yet started to

run on oppositions to those Non-Party Objections.          Any

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oppositions to those Non-Party Objections are not due until 7

days after the Court indicates that it will review sets of

motions for those Does.    The Court will update the Protocol and

file a revised version on the docket that states explicitly that

the clock does not start running on any opposition to a Non-

Party Objection until the Court takes up the motion relevant to

the Non-Party who has objected.

  2. Unsealing of Doe 1’s Deposition

    Plaintiff seeks confirmation from the Court that she may

file the transcript of Doe 1’s deposition and materials quoting

or disclosing information from that transcript, which are

entries 204-3 and 212-3 on the docket.       (Nov. 16 Letter at 1.)

Defendant argues that “Doe 1 and 2 submitted an objection to

their names being released” and thus Docket Entries 204-3 and

212-3 should not be filed publicly with Doe 1’s name unredacted.

(See Def. Letter at 2.)

    The Court has already declined to construe the emails from

Does 1 and 2 that Defendant refers to as formal objections

(Order, dated Oct. 2, 2020 [dkt. no. 1125], at 4), but provided

Does 1 and 2 14 days from the time of service of their excerpts

to file such an objection.     (Order, dated Oct. 21, 2020 [dkt.

no. 1133].)   Having already undertaken a particularized review

of Doe 1’s deposition materials, the Court instructed then that

the transcript of Doe 1’s deposition and related materials
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should be unsealed as soon as practicable after the 14-day clock

had run, if Does 1 and 2 failed to lodge an objection.          (Id.)

    Having received no Objection from Does 1 or 2, the

transcript of Doe 1’s deposition and materials quoting or

disclosing information from that transcript [dkt. nos. 204-3 and

212-3] shall be posted on the public docket no later than

Monday, November 23rd, at 9:00 a.m.

    SO ORDERED.

Dated:    New York, New York
          November 20, 2020


                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge




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